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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


ELGIN RAY LOFTON,

v.                                                Case No.      8:02-cr-122-T-24EAJ
                                                                8:07-cv-908-T-24EAJ


UNITED STATES OF AMERICA.

_________________________________/


                                          ORDER

       On February 20, 2007, Defendant Elgin Ray Lofton signed a motion to vacate, set

aside, or correct an allegedly illegal sentence pursuant to 28 U.S.C. § 2255. Lofton filed

the motion in this Court on May 25, 2007. (Doc. No. cv-1; cr-710).

                                        Background

       Lofton was found guilty, after a jury trial, of conspiracy to possess with intent to

distribute 5 kilograms or more of cocaine, 50 grams or more of cocaine base, and 100

kilograms or more of marijuana in violation of 21 U.S.C. § § 846, 841(b)(1)(A) and

841(b)(1)(B). On October 6, 2003, the Court sentenced Lofton to 188 months incarceration.

Judgment was entered that same day.

       Lofton appealed. The United States Court of Appeals for the Eleventh Circuit

affirmed the conviction and sentence on October 27, 2005. Lofton filed a petition for writ

of certiorari in the United States Supreme Court that was denied on February 21, 2006.

       Because review "of the motion and the file and records of the case conclusively

show that the defendant is entitled to no relief," the Court will not cause notice thereof to
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be served upon the United States Attorney but shall proceed to address the matter. See

28 U.S.C. § 2255.

                             Motion To Vacate Is Time-Barred

       Title 28 U.S.C. § 2255 contains a one-year "period of limitation" for the filing of a §

2255 motion, to run from the latest of: 1) the date on which the judgment of conviction

becomes final; 2) the date any unconstitutional government impediment, if any, precluding

the movant from making a motion is removed; 3) the date on which the right asserted was

initially recognized by the United States Supreme Court; or 4) the date on which the facts

supporting the claim could have been discovered through the exercise of due diligence. 28

U.S.C. § 2255. A judgment becomes final when the United States Supreme Court has

denied certiorari. United States v. Simmonds, 111 F.3d 737, 744 (10th Cir. 1997).

       The United States Supreme Court denied Lofton's petition for writ of certiorari on

February 21, 2006. Lofton had until February 21, 2007, to file a timely motion to vacate.

He did not file his motion to vacate in this Court until May 25, 2007.

       The record demonstrates that on February 21, 2007, Lofton submitted a motion to

vacate dated February 20, 2007, to the United States Attorney's Office. (See Certified Mail

Receipts in the civil case file). However, Rule 3(a) of the Rules on Motion Attacking

Sentence under Section 2255 requires that the Defendant file an original and two copies

of the motion with the clerk [of the Court]. Lofton did not comply with Rule 3(a) by sending

his motion to vacate to the United States Attorney's Office. Accordingly, his present motion

to vacate, which was not filed in this Court until May 25, 2007, is time-barred.

       Any allegation that the motion to vacate is timely because the date on the presently-

filed motion is February 20, 2007, has no merit. Any such allegation would be invoking the

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mailbox rule which does not apply in this case because Lofton did not forward the motion

to vacate to this Court in February 2007. In Houston v. Lack, 487 U.S. 266 (1988), the

Court held that a prisoner's filing is deemed filed when it is delivered to prison authorities

for forwarding to the Court. However, the prisoner mailbox rule is construed strictly. An

inmate does not receive the benefit of the rule if he has failed to meet his responsibility of

doing all he reasonably can to ensure documents are received for filing in a timely manner.

For example, a prisoner cannot invoke Houston if his document is filed late because of his

failure to affix proper postage, to properly address outgoing mail, or to follow reasonable

prison regulations governing outgoing legal mail. See Dison v. Whitley, 20 F.3d 185, 186-87

(5th Cir.1994). Nor does that rule apply if a pro se prisoner delivers his notice of appeal to

someone outside the prison system for forwarding to the court. See Knickerbocker v. Artuz,

271 F.3d 35, 37 (2d Cir.2001).

       Furthermore, Lofton did not demonstrate due diligence in determining whether his

motion to vacate reached this Court. There is authority for the proposition that a prisoner

may forfeit his right to invoke the mailbox rule by failing to exercise reasonable diligence

in ascertaining the status of his filing after delivering a mailing to prison authorities. See

Huizar v. Carey, 273 F.3d 1220, 1223 (9th Cir. 2001) ("A prisoner who delivers a document

to prison authorities gets the benefit of the prison mailbox rule, so long as he diligently

follows up once he has failed to receive a disposition from the court after a reasonable

period of time." ); see generally Drew v. Department of Corrections, 297 F.3d 1278, (11th

Cir.2002) (in different context, finding that habeas petitioner had not diligently attempted

to confirm status of order where he waited 16 months before inquiring to clerk's office).

       On May 4, 2007, Lofton sent a letter to the United States Attorneys Office inquiring

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about his 2255 motion to vacate. On May 8, 2007, that office forwarded the letter to this

Court. On May 11, 2007, this Court sent Lofton a copy of the docket sheet and a notation

that he did not have a pending motion to vacate.

       Lofton did not exercise due diligence that would entitle him to equitable tolling

because he continued to mail his filings to the United States Attorneys Office rather than

to the United States District Court. The address of this Court was available to him at the

prison library. Lofton did not meet the requirements of Rule 3(a) of the Rules on Motion

Attacking Sentence under Section 2255 until May 18, 2007.

       Accordingly, the court orders:

       That Lofton's motion to vacate (Doc. No. cv-1; cr-710) is denied as time-barred. The

Clerk is directed to enter judgment against Lofton in the civil case and to close that case.

                      CERTIFICATE OF APPEALABILITY AND
                  LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

       IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court

must first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the

applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

2253(c)(2). To make such a showing, Defendant “must demonstrate that reasonable jurists

would find the district court's assessment of the constitutional claims debatable or wrong,”

Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473,

484 (2000)), or that “the issues presented were ‘adequate to deserve encouragement to

proceed further, ’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v.


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Estelle, 463 U.S. 880, 893 n. 4 (1983)). Defendant has not made the requisite showing in

these circumstances.

      Finally, because Defendant is not entitled to a certificate of appealability, he is not

entitled to appeal in forma pauperis.

      ORDERED at Tampa, Florida, on June 19, 2007.




AUSA: Anthony E. Porcelli
Elgin Ray Lofton




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